
*87OPINION.
Milliken :
No evidence, other than the mere showing of entries of the predecessor partnership and of the petitioner, was offered at the hearing concerning the alleged error in respondent’s failure to restore to capital account and allow depreciation on the amount by which the machinery account was reduced on the books of the predecessor partnership. Obviously, such evidence is insufficient to warrant us in disturbing the respondent’s determination upon this point.
With respect to the March 1, 1913, value of the buildings, the only evidence adduced was the testimony of a person who made an appraisal in 1914 upon the basis of the replacement cost. Even though we accept the appraisal made in 1914 as establishing the reproduction cost as of March 1, 1913, we are unable to determine the actual value of the buildings on March 1, 1913, as replacement cost gives no dependable index to actual value. Appeal of Kinsman Transit Co., 1 B. T. A. 552; Appeal of Valley Steamship Co., 1 B. T. A. 1107; Appeal of Rockford Malleable Iron Works, 2 B. T. A. 817. Being unable to determine the March 1, 1913, value, we must sustain the action taken by the respondent.

Judgment will be entered for the respondent.

